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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
SALEM MAULUD ABOULGAED, et al.,            )
                                           )
            Plaintiffs,                    )
                                          )
      v.                                  ) Case No. 1:20-cv-00298 CKK
                                           )
KHALIFA ABULGASIM HIFTER, et al.,          )
                                          )
            Defendants.                   )
__________________________________________)

        NOTICE OF DISMISSAL WITH PREJUDICE AS TO AREF ALI NAYED

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs by and through

undersigned counsel, hereby notify the court that the Plaintiffs have voluntarily elected to dismiss

all claims against Defendant Nayed with prejudice. Defendant Nayed has not answered the

complaint nor file a motion for summary judgment. Dismissal under Rule 41 (a)(1) is therefore

appropriate.

       Plaintiffs will continue to seek justice for their slain families as to Defendants Hifter,

Geroushi, Al-Werfalli, and the UAE.

                                                     Dated: Washington, D.C.
                                                            June _25__, 2020

                                                     /s/ Martin F. McMahon
                                                     Martin F. McMahon, Esq.
                                                     DC Bar No. 196642
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                                CERTIFICATE OF SERVICE

I certify that on June 25, 2020, a copy of the foregoing was served via ECF on all counsel for the

Defendants.

                                                     /s/ Martin F. McMahon
